Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 1 of 16 PageID #:1




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Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 2 of 16 PageID #:2
Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 3 of 16 PageID #:3
Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 4 of 16 PageID #:4
Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 5 of 16 PageID #:5
Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 6 of 16 PageID #:6
Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 7 of 16 PageID #:7
Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 8 of 16 PageID #:8
Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 9 of 16 PageID #:9
Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 10 of 16 PageID #:10
Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 11 of 16 PageID #:11
Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 12 of 16 PageID #:12
Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 13 of 16 PageID #:13
Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 14 of 16 PageID #:14
Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 15 of 16 PageID #:15
Case: 1:09-cv-00227 Document #: 1 Filed: 01/13/09 Page 16 of 16 PageID #:16
